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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEX~SI9 OCT 28 Pti 3: 4 I
                                FORT WORTH DIVISION
                                                                   DEPUTY CLERl'i
UNITED STATES OF AMERICA

v.                                               Criminal No.

DEBRA MORGAN (01)
                                                   4-19CR-320-Y
                                    INFORMATION

The United States Attorney Charges:

                                        Introduction

1.      Since 1997, BV and BH have owned Spirit of Texas Cheer and Gymnastics,

(STCG), which operates two facilities: one in Arlington, Texas, and the other in Coppell.

2.      STCG hired Defendant Debra Morgan as a manager and bookkeeper in 2005.

Since December 2006, Morgan's job responsibilities included managing the STCG

facilities, maintaining the books and records for STCG, issuing invoices, paying compl:J,ny

bills, and submitting payroll hours. Each month, Morgan also was responsible for

delivering the business' bank statements, canceled checks, and other accounting records

to STCG's certified public accountant

3.      On or about April29, 2011, Morgan was granted signature authority on the STCG

Frost Bank account ending in 9238, to issue and sign checks for legitimate corporate

expenses.




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                            Scheme and Artifice to Defraud

4.      Beginning on or before January 1, 2014, and continuing until on or about October

6, 2018, Morgan devised and executed a scheme and artifice to defraud STCG and to

obtain money and property by means of materially false representations. During the

course of the scheme, Morgan used STCG funds to pay personal credit card bills,

vacation expenses, wedding expenses, and to buy jewelry and to make student loan

payments.

5.      As part of the scheme to defraud, Morgan fraudulently wrote checks for personal

purchases unrelated to STCG business, made payroll overpayments to herself and another

employee, and pocketed fees collected from customers who paid in cash. On or about

May 31, 2018, without the consent of either STCG owner, Morgan applied for and

received a debit card for STCG's Frost Bank account ending in 9238. The application

bears a forged signature ofBH. Morgan then used the debit card for personal expenses.

6.      To further the scheme to defraud and to avoid detection, Morgan disguised her

personal expenses as legitimate business expenses. She routinely altered the payees on

check carbon copies to depict legitimate business expenses, falsely represented payroll

amounts, labeled debit charges with false descriptions on the bank statements, and added

deceptive notes to the bank statements submitted to the CPA.

7.     From on or about January 1, 2014, and continuing until on or about October 6,

2018, Morgan's made payroll overpayments to herself and the other employee totaling

approximately $493,656. Morgan sent BV emails containing materially false statements

regarding salaries paid to Morgan and the other employee. By providing significantly

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        understated payroll records to BV, Morgan disguised the true, and significantly higher,

        payroll amounts she and the other employee received.

        8.      In particular, in an email sent to BV on May 22, 2018, Morgan falsely reported

        STCG employee payroll records for September 2017, through March 15, 2018. In the

        email, she falsely listed her pay as $15,300.00 and the other employee's pay as

        $9,869.60, for a total of$25,169.60. In fact, during this six-month period, Morgan paid

        herself and the other employee nearly three times that amount at approximately $36,000

        each, or $72,000.

        9.      During and in connection with the scheme, Morgan embezzled approximately

        $1,115,476 from STCG.




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                                         Count One
                                         Wire Fraud
                                (Violation 18 U.S.C. § 1343)

10.     The United States Attorney realleges the allegations set forth in the Introduction

and the Scheme and Artifice to Defraud paragraphs of this Information.

11.     On or about on May 22, 20 18, in the Fort Worth Division of the Northern District

of Texas, and elsewhere, Defendant Debra Morgan, for the purpose of executing and

attempting to execute the scheme and artifice to defraud, and to obtain money and

property by means of materially false and fraudulent pretenses, representations and

promises, knowingly caused to be transmitted by means of wire communication in

interstate commerce certain writings, signs, signals, and pictures, in that, using the

internet, Morgan sent or caused to be sent an email to BV in Arlington, Texas, via

STCG's AOL mail account, routed through Virginia, in which Morgan provided

fraudulent payroll information for September 20 17, through March 15, 20 18, which she

knew to be materially false.

        In violation of 18 U.S.C. § 1343.


                                                          ERIN NEALY COX
                                                          UNITED STATES ATTORNEY



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